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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                                                        CASE NO.: 20-11814-BKC-LMI
                                                                     PROCEEDING UNDER CHAPTER 13

IN RE:

HENNY CRISTOBOL

_____________________________/
DEBTOR

                                      NOTICE OF DELINQUENCY

   PLEASE TAKE NOTICE the above-referenced Debtor is delinquent in Confirmed Chapter 13 Plan
Payments in the amount of $1047.42.

    The Debtor shall have forty-five (45) days from the date of this Notice to make all payments due under
the Confirmed Plan/Modified Plan, INCLUDING ANY PAYMENTS THAT BECOME DUE WITHIN
THE FORTY-FIVE (45) DAY PERIOD, in the form of a money order or cashier's check only. Payments
must be sent to:

       NANCY K. NEIDICH, ESQUIRE
       STANDING CHAPTER 13 TRUSTEE
       P.O. BOX 2099
       MEMPHIS, TN 38101-2099

    If the Chapter 13 Trustee ("Trustee") does not receive all payments by June 18, 2021 to bring the
Debtor totally current under the Confirmed Plan/Modified Plan, or if applicable, a Motion to Modify has
not been timely filed and set within fifteen (15) days of this Notice pursuant to the Confirmation Order, the
Trustee may file and serve a Report of Non-Compliance.

   As a result of the Debtor failure to become current or timely file a Motion to Modify, the case shall be
dismissed without further notice or hearing.

    I HEREBY CERTIFY that a true and correct copy of this Notice of Delinquency was served, via U.S.
first class mail and/or CM/ECF, upon the parties listed on the attached service list this 4th day of May 2021.




                                                             /s/_____________________________________
                                                                 Nancy K. Neidich
                                                             NANCY K. NEIDICH, ESQUIRE
                                                             STANDING CHAPTER 13 TRUSTEE
                                                             P.O. BOX 279806
                                                             MIRAMAR, FL 33027-9806
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                                                                      NOTICE OF DELINQUENCY
                                                                   CASE NO.: 20-11814-BKC-LMI

                                    SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
HENNY CRISTOBOL
8200 SW 142 AVE
MIAMI, FL 33183

ATTORNEY FOR DEBTOR
JOSE P. FUNCIA, ESQUIRE
9555 N KENDALL DRIVE
SUITE 211
MIAMI, FL 33176
